Case 7:20-cv-00507-MFU-RSB Document 14 Filed 12/07/21 Page 1 of 2 Pageid#: 62




                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                     (Roanoke Division)


  ROBERT EARL WALKER                              )
                                                  )
          Plaintiff,                              )
                                                  )
                    v.                            )        Civil Action No. 7:20-CV-507
                                                  )
  ALTEC INDUSTRIES, INC.,                         )
                                                  )
          Defendant.                              )


                                 STIPULATION OF DISMISSAL

          Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiff Robert Earl Walker, and
  Defendant Altec Industries, Inc., having settled the matters among them, hereby consent to
  the dismissal of this case, and all related matters, with prejudice. Each party to bear its own
  fees and costs.



  December 7, 2021

   By      /s/ Thomas E. Strelka                      By      /s/ Elizabeth M. Ebanks
   Thomas E. Strelka, Esq.                            Elizabeth M. Ebanks (VSB #72111)
   L. Leigh R. Strelka, Esq.                          elizabeth.ebanks@ogletree.com
   N. Winston West, IV, Esq.                          Bret G. Daniel (VSB #92189)
   Brittany M. Haddox, Esq.                           bret.daniel@ogletree.com
   Monica L. Mroz, Esq.                               OGLETREE, DEAKINS, NASH, SMOAK &
   STRELKA EMPLOYMENT LAW                             STEWART, P.C.
   Warehouse Row                                      901 East Byrd Street, Suite 1300
   119 Norfolk Avenue, S.W., Suite 330                Richmond, VA 23219
   Roanoke, VA 24011                                  Tel.: (804) 663-2330
   Tel: 540-283-0802                                  Fax: (855) 843-1809
   thomas@strelkalaw.com
   leigh@strelkalaw.com                               Counsel for Defendant Altec Industries, Inc.
   winston@strelkalaw.com
   brittany@strelkalaw.com
   monica@strelkalaw.com

   Counsel for Plaintiff, Robert Earl Walker
Case 7:20-cv-00507-MFU-RSB Document 14 Filed 12/07/21 Page 2 of 2 Pageid#: 63




                                  CERTIFICATE OF SERVICE

       I hereby certify that on this 7th day of December, 2021, I electronically filed the foregoing
with the clerk of the court using the CM/ECF system to:

Elizabeth M. Ebanks (VSB #72111)
elizabeth.ebanks@ogletree.com
Bret G. Daniel (VSB #92189)
bret.daniel@ogletree.com
OGLETREE, DEAKINS, NASH, SMOAK & STEWART, P.C.
901 East Byrd Street, Suite 1300
Richmond, VA 23219
Tel.: (804) 663-2330
Fax: (855) 843-1809

Counsel for Defendant


                                                        /s/   Thomas E. Strelka
